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                        Exhibit C

                    (Hsieh Declaration)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
TERRAFORM LABS PTE. LTD.                                     :        Case No. 24–10070 (BLS)
                                                             :
                  Debtor.                                    :
                                                             :
------------------------------------------------------------ x


    DECLARATION OF PETER HSIEH IN SUPPORT OF APPLICATION OF DEBTOR
        FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
    EMPLOYMENT OF DENTONS US LLP AS SPECIAL COUNSEL TO THE DEBTOR
      AND DEBTOR IN POSSESSION, EFFECTIVE AS OF THE PETITION DATE

                 I, Peter Hsieh, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

perjury:

                 1.       Beginning on November 22, 2023, I became General Counsel of

Terraform Labs Pte. Ltd., as debtor and debtor in possession in the above-captioned chapter 11

case (the “Debtor” or “TFL”). In my current role, the TFL executive team and I are responsible

for supervising outside counsel and monitoring and managing legal fees and expenses.

                 2.       On January 21, 2024 (the “Petition Date”), the Debtor commenced with

this Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”).

                 3.       I submit this declaration (the “Declaration”) in connection with the

application (the “Application”)1 of the Debtor, pursuant to section 327(e) of title 11 of the United

States Code, §§ 101 et seq. (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of

1
  Capitalized terms used herein as defined terms and not otherwise defined shall have those meanings ascribed to
them in the Application.
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Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1 and 2016-1 of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), requesting entry of an order authorizing the retention and

employment of Dentons US LLP (“Dentons US”) as special counsel to the Debtor effective as of

the Petition Date.

               4.      Except as otherwise indicated herein, the facts set forth in this Declaration

are based upon my personal knowledge, information provided to me by the Debtor’s employees or

advisors, or my opinion based upon knowledge and experience as General Counsel for the Debtor.

                                     Retention of Dentons US

               5.      The Debtor desires to employ and retain Dentons US as special counsel to

represent the Debtor in prepetition litigation and investigations in multiple fora (collectively, the

“Litigations”), including (i) an enforcement action, entitled SEC v. Terraform Labs Pte. Ltd., et al.,

Case No. 1:23-cv-01346-JSR (S.D.N.Y.)), filed by the Securities and Exchange Commission (the

“SEC Enforcement Action”) in the United States District Court for the Southern District of New

York (the “District Court”), naming the Debtor and its co-founder Kwon Do Hyeong as defendants

and alleging six (6) claims for violations of the Securities Act of 1933 and the Securities Exchange

Act of 1934, currently pending before the Honorable Jed Rakoff, (ii) ongoing grand jury, criminal

and regulatory investigations, and prosecutions of former TFL employees and others in the United

States and other jurisdictions, and (iii) a case entitled Julian Moreno Beltran, et al. v. Terraform

Labs pte Ltd., et al., Case No. HC/OC 247/2022, currently pending in the High Court of the

Republic of Singapore (the “Beltran Action”).

               6.      Dentons US has provided legal services to the Debtor on the terms and

conditions of the engagement agreement, dated November 27, 2023 (the “Engagement Letter”).




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Dentons US has worked closely with the Debtor and its other professionals and, as a result of

Dentons US’s trusted representative relationship with the Debtor, Dentons US has become well

acquainted with the Debtor’s business and financial affairs and work on the Litigations.

Accordingly, I believe that Dentons US has developed substantial knowledge regarding the Debtor

that will result in effective and efficient services in this chapter 11 case.

                7.      Subject to further order of this Court, the Debtor anticipates that Dentons US

will:

                        (a)      Represent and advise the Debtor in the Litigations;

                        (b)      Manage and support the Debtor’s Litigations;

                        (c)      Provide necessary background knowledge of and information
                                 regarding the Debtor’s structure and operations to the Debtor’s
                                 bankruptcy counsel, as necessary;

                        (d)      Provide advice regarding matters related to product counseling,
                                 privacy and cybersecurity counseling, and employment law; and

                        (e)      Perform such other legal services in connection with this chapter
                                 11 case as may be reasonably required and consistent with Dentons
                                 US’s role as special counsel.

 Consistent with the Engagement Letter, and as further set forth in the Califano Declaration,

 Dentons US will provide the foregoing services, and, as needed, may involve other lawyers and

 professionals from Dentons.         See ¶¶ 3 and 5 of the Terms of Business annexed to the

 Engagement Letter. Dentons US has informed the Debtor it will provide invoices covering its

 work and the work of any other Dentons member firm, and all invoices will be subject to

 review, objection, and approval consistent with applicable provisions of the Bankruptcy Code.

                8.      I believe that Dentons US has the resources and experience necessary to

assist the Debtor in this chapter 11 case, and that Dentons US’s retention would be in the best

interests of the Debtor, it estate, and its creditors. Dentons US has informed the Debtor it will




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coordinate with the Debtor’s other professionals to ensure that its services are, to the maximum

extent possible, complimentary to and not duplicative of the services of the Debtor’s other

professionals.

                            Compensation and Expense Reimbursement

                 9.    Dentons US has represented to the Debtor that the hourly rates set forth in

the Application (a) are set at a level designed to fairly compensate Dentons US for its work and to

cover fixed and routine overhead expenses; (b) are standard for work of this nature inside and

outside bankruptcy; and (c) remain subject to periodic, firm-wide adjustments in the ordinary course

of Dentons US’s business.

                                         Cost Supervision

                 10.   The Debtor recognizes that it is its responsibility to closely monitor the

billing practices of Dentons US to ensure that the fees and expenses paid by the estate remain

consistent with the Debtor’s expectations and the exigencies of this chapter 11 case. If necessary,

Dentons US will develop a budget plan for a period to be determined by the Debtor and Dentons

US. The Debtor will review the invoices that Dentons submits to the Debtor, and my understanding

is that such fees and expenses will be subject to review on a monthly basis during this chapter 11

case by the Debtor, the U.S. Trustee, and any official committee of unsecured creditors that may be

appointed.

                 11.   For the foregoing reasons, I believe Dentons US should be retained by the

Debtors as special counsel to the Debtors.

                            [Remainder Of Page Intentionally Left Blank]




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              I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information, and belief.

Dated: February 13, 2024
Honolulu, Hawaii

                                              TERRAFORM LABS PTE. LTD.


                                              /s/ Peter Hsieh
                                              Name: Peter Hsieh
                                              Title: General Counsel




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